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                                            THE CITY OF NEW YORK
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                                                                          September 12, 2016

       BY ECF

       Honorable Vera M. Scanlon
       United States Magistrate Judge
       United States District Court
       Eastern District of New York
       225 Cadman Plaza East
       Brooklyn, NY 11201

               Re:    Derrick Hamilton v. City of New York, et al., 15 CV 05182

       Your Honor:

                        I am an Assistant Corporation Counsel assigned to the defense of this matter on
       behalf of the City of New York, Detective DeLouisa, and Detective Investigator Ponzi. I am
       writing on behalf of the New York City defendants, Detective Scarcella, and plaintiff to jointly
       request an extension of ten days of the time by which the parties were to submit a letter to the
       Court from September 12, 2016 to September 22, 2016 outlining any outstanding “Scarcella
       related” discovery disputes. Counsel for the New Haven defendants consents to this request.
       There is a conference scheduled to take place before Your Honor on September 27, 2016. This is
       the first request for an extension of this deadline. This extension is being requested because the
       parties are still in the process of reviewing and producing the relevant documents.

                       Since the prior conference on July 12, 2016, City defendants have produced
       approximately 500 pages of personnel files of Louis Scarcella related to his employment by the
       NYC Special Commissioner of Investigation and the NYC Board of Education Office of Special
       Investigations. Additionally, plaintiff’s counsel has identified the files of four IAB investigations
       that relate to Detective Scarcella. Files concerning these investigations have been received and
       reviewed by the City, and are currently being reviewed by counsel for Detective Scarcella, as
       was ordered by the Court at the last conference. Additionally, plaintiff provided the City with
       three 160.50 releases for memoranda from the Conviction Review Unit of the Kings County
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 District Attorney’s Office. City defendants plan to produce KCDA memoranda by the middle of
 next week.

                  The parties have also been conducting and scheduling depositions. The deposition
 of one non-party witness who resides in Connecticut was complete, and the deposition of a
 second non-party witness who resides in Connecticut was begun, but was interrupted when the
 witness left. It appears that the witness will appear voluntarily and counsel are in the process of
 rescheduling that date. Finally, there are three depositions of non-parties that are scheduled to
 take place in North Carolina on September 12th and 13th, which will require significant attention
 by the parties.

                The parties do not anticipate that the proposed extension of time will affect any
 other deadlines.

                Thank you for your consideration of this matter.

                                                             Respectfully submitted,

                                                                     /s/

                                                             Angharad Wilson
                                                             Assistant Corporation Counsel


 cc: All counsel of record via ECF




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